19-23649-rdd          Doc 3875        Filed 10/03/21 Entered 10/03/21 12:29:03                   Main Document
                                                  Pg 1 of 3



    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    --------------------------------------------------------   x          Hearing Date: October 14, 2014
                                                               :          Hearing Time: 10:00 am
    In re                                                      :
                                                               :         Chapter 11
    PURDUE PHARMA L.P., et al.,                                :
                                                               :         Case No. 19-23649 (RDD)
                                                 Debtors.      :
                                                               :         (Jointly Administered)
    --------------------------------------------------------   x

              AMENDED NOTICE OF HEARING ON UNITED STATES TRUSTEE’S
               (I ) EXPEDITED MOTION FOR AN ORDER CERTIFYING DIRECT
               APPEAL TO THE UNITED STATES COURT OF APPEALS FOR THE
             SECOND CIRCUIT UNDER 28 U.S.C. § 158(d) AND (II) MOTION FOR AN
              ORDER SHORTENING NOTICE AND SCHEDULING HEARING WITH
            RESPECT TO THE UNITED STATES TRUSTEE’S MOTION TO CERTIFY
            DIRECT APPEAL TO THE COURT OF APPEALS UNDER 28 U.S.C. § 158(d)

            PLEASE TAKE NOTICE that upon the motion and memorandum of law, William K.

Harrington, the United States Trustee for Region 2 (“United States Trustee”) moves and hereby

does move (“Motion for Direct Certification”)(ECF No. 3868) this Court on an expedited basis,

pursuant to Federal Rule of Bankruptcy Procedure 8007, for an order certifying a direct appeal to

the United States District Court of Appeals for the Second Circuit Under 28 U.S.C. § 158(d) of

this Court’s Order confirming the Twelfth Amended Joint Chapter 11 Plan of Reorganization of

Purdue Pharma L.P. and Its Affiliated Debtors, 1 ECF No. 3787, (the “Confirmation Order”), and

the related order allowing the debtors to advance funds and take other actions to further the plan,


1
  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
(7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584),
Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser
Boulevard, Stamford, CT 06901. For convenience, we refer to these parties collectively as “Debtors” or “Purdue”.
19-23649-rdd    Doc 3875      Filed 10/03/21 Entered 10/03/21 12:29:03           Main Document
                                          Pg 2 of 3



ECF Doc. No. 3773 (the “Advance Order”). The Confirmation Order (Exhibits Omitted), the

Advance Order, and the Court’s Modified Bench Ruling on Request for Confirmation of

Eleventh Amended Joint Chapter 11 Plan, ECF No. 3786 are attached to the Motion. In addition,

the United States Trustee will also move for entry of an Order shortening the notice period with

respect to the Motion (“Motion to Shorten”). ECF Doc. No. 3869. A hearing on the Motion for

Direct Certification and the Motion to Shorten will be held October 14, 2021 at 10:00 am

(“Hearing”) before the Honorable Robert D. Drain, United States Bankruptcy Judge, United

States Bankruptcy Court for the Southern District of New York, at the United States Bankruptcy

Court for the Southern District of New York, 300 Quarropas Street, White Plains, New York

10601 (“Bankruptcy Court”), or at such other time as the Bankruptcy Court may determine.

       PLEASE TAKE FURTHER NOTICE that, due to the COVID-19 pandemic, such

Hearing shall be conducted via Zoom® videoconference so long as General Order M-543, dated

March 20, 2020 (Morris, C.J.) (“General Order M-543”), is in effect or unless otherwise ordered

by the Bankruptcy Court. [A copy of General Order M-543 can be obtained by visiting

http://www.nysb.uscourts.gov/news/court-operationsunder-exigent-circumstances-created-covid-

19]. Parties wishing to appear at, or attend, a hearing conducted via Zoom® videoconference are

required to register their appearance by 4:00 p.m. (prevailing Eastern Time) the day before such

hearing at https://ecf.nysb.uscourts.gov/cgibin/nysbAppearances.pl.

       PLEASE TAKE FURTHER NOTICE that any responses or objections (“Objections”)

to the Motion shall be in writing, shall conform to the Federal Rules of Bankruptcy Procedure

and the Local Bankruptcy Rules for the Southern District of New York, shall be filed with the

Bankruptcy Court (a) by attorneys practicing in the Bankruptcy Court, including attorneys

admitted pro hac vice, electronically in accordance with General Order M-399 (which can be
19-23649-rdd    Doc 3875      Filed 10/03/21 Entered 10/03/21 12:29:03            Main Document
                                          Pg 3 of 3



found at http://www.nysb.uscourts.gov), and (b) by all other parties in interest, on a CD-ROM, in

text-searchable portable document format (PDF) (with a hard copy delivered directly to

Chambers), in accordance with the customary practices of the Bankruptcy Court and General

Order M-399, to the extent applicable, and shall be served in accordance with the Second

Amended Order Establishing Certain Notice, Case Management, and Administrative Procedures

entered on November 18, 2019 (ECF Doc. No. 498), so as to be filed and received no later than

October 13, 2021 at 12:00 p.m. (prevailing Eastern Time) (“Objection Deadline”).

       PLEASE TAKE FURTHER NOTICE that any objecting parties are required to attend

the Hearing, and failure to appear may result in relief being granted upon default; provided that

objecting parties shall attend the Hearing telephonically so long as General Order M-543 is in

effect or unless otherwise ordered by the Bankruptcy Court.

       PLEASE TAKE FURTHER NOTICE that if no Objection is timely filed and served

with respect to the Motion, the United States Trustee may, on or after the Objection Deadline,

submit to the Bankruptcy Court an order substantially in the form of the proposed order annexed

to the Motion, which order may be entered without further notice or opportunity to be heard.

Dated: New York, New York                            Respectfully submitted,
       October 3, 2021
                                                     WILLIAM K. HARRINGTON
                                                     UNITED STATES TRUSTEE

                                             By:     /s/ Linda A. Riffkin
                                                     Linda A. Riffkin,
                                                     Assistant United States Trustee
                                                     Office of the U.S. Trustee
                                                     U.S. Federal Office Bldg.
                                                     201 Varick St. Room 1006
                                                     New York, New York 10014
                                                     Tel. No. (212) 510-0500
                                                     Fax No. (212) 668-2255
